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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


 AMERICA FIRST LEGAL FOUNDATION,
 611 Pennsylvania Avenue S.E., #231
 Washington, D.C. 20003,

              Plaintiff

              v.
                                                  Civil Action No.: 1:23-cv-581
 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES,
 200 Independence Avenue, S.W.
 Washington, D.C. 20201

              Defendant.


                                   COMPLAINT

      1.     Plaintiff America First Legal Foundation (“AFL”) brings this action

against the United States Department of Health and Human Services (“HHS”) to

compel compliance with the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.

                           JURISDICTION AND VENUE

      2.     The Court has jurisdiction over this action pursuant to 5 U.S.C.

§ 552(a)(4)(B) and 28 U.S.C. § 1331. Additionally, it may grant declaratory relief

pursuant to 28 U.S.C. § 2201, et seq.

      3.     Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).

                                        PARTIES

      4.     Plaintiff AFL is a nonprofit organization working to promote the rule of

law in the United States, prevent executive overreach, ensure due process and equal

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protection for all Americans, and encourage public knowledge and understanding of

the law and individual rights guaranteed under the United States Constitution and

the laws of the United States. AFL’s mission includes promoting government

transparency and accountability by gathering official information, analyzing it, and

disseminating it through reports, press releases, and/or other media, including social

media platforms, all to educate the public.

      5.        Defendant, the U.S. Department of Health and Human Services, is an

agency under 5 U.S.C. § 552(f), with its headquarters located at 200 Independence

Ave. SW, Washington, D.C., 20201.

                                         FACTS

                   HHS Care for Unaccompanied Alien Children FOIA

      6.        On September 23, 2021, AFL submitted a FOIA request to HHS seeking

records relating to the Department’s Office of Refugee Resettlement (“ORR”) care for

Unaccompanied Alien Children (“UAC”). A true and original copy of the FOIA request

is attached to this complaint at Exhibit A.

      7.        On September 24, 2021, AFL received an email from HHS which stated

that HHS had received AFL’s FOIA request. That email is attached to the complaint

at Exhibit B.

      8.        This email assigned AFL’s request tracking number 21-F-0208. Id.

      9.        As of the date of filing this complaint, AFL has received no further

information related to its request.




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      10.     As of the date of filing, AFL has not received any records responsive to

its FOIA request.

                 HHS Family Endeavors Inc. No-Bid Contract FOIA

      11.     On August 2, 2021, AFL submitted a FOIA request to the Department

of Health and Human Services seeking records related to a no-bid contract awarded

to Family Endeavors LLC. A true and original copy of the FOIA request is attached

to this complaint at Exhibit C.

      12.     On August 10, 2021, AFL received an email from HHS containing an

acknowledgement of AFL’s request. That email is attached to the complaint at

Exhibit D.

      13.     That email assigned the request tracking number 21-F-0186. Id.

      14.     As of the date of filing this complaint, AFL has received no further

information related to its request.

      15.     As of the date of filing this complaint, AFL has not received any records

responsive to its request.

                                  CLAIM FOR RELIEF

                          Violation of FOIA, 5 U.S.C. § 552

      16.     AFL repeats paragraphs 1–15.

      17.     AFL properly requested records within the possession, custody, and

control of Defendants.

      18.     For over a year, the Defendant has failed to conduct a reasonable search

for responsive records.



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            19.    Moreover, the Defendant failed to disclose any segregable, non-exempt

portions of responsive records. See 5 U.S.C. § 552(b).

            20.    The Defendant failed to respond to AFL’s requests within the statutory

time-period. See 5 U.S.C. § 552(a)(6).

            21.    Accordingly, AFL has exhausted its administrative remedies. See 5

U.S.C. § 552(a)(60(C).

            22.    The Defendant have violated the FOIA by failing, within the prescribed

time limit, to (i) reasonably search for records responsive to AFL’s FOIA requests; (ii)

provide a lawful reason for the withholding of any responsive records; and (iii)

segregate exempt information in otherwise non-exempt responsive records.


                                   RELIEF REQUESTED

            WHEREFORE, AFL respectfully requests this Court:

        i.         Declare that the records sought by these requests, as described in the

foregoing paragraphs, must be disclosed pursuant to 5 U.S.C. § 552;

       ii.         Order the Defendant to conduct searches immediately for all records

responsive to AFL’s FOIA requests and demonstrate that they employed search

methods reasonably likely to lead to the discovery of responsive records;

      iii.         Order the Defendant to produce by a date certain all non-exempt records

responsive to AFL’s FOIA requests;

      iv.          Award AFL attorneys’ fees and costs pursuant to 5 U.S.C. § 552(a)(4)(E);

and

       v.          Grant AFL such other and further relief as this Court deems proper.

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March 2, 2023.

                                   Respectfully submitted,


                                         /s/ Jacob Meckler
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